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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

IN RE: Criminal Cases

     This matter is before the Court upon the Court's own motion:

     IT IS HEREBY ORDERED that government's exhibits in the case listed below
are to be returned to the United States Attorney for appropriate disposition.

     CASE NUMBER             CAPTION                              HEARING DATE

     4:00CR 242      USA v. Kit King                              6/26/01
                     (Exhibits 1-12,14,16 only)
     4:00CR3092      USA v. Miguel Rodriquez                      3/6/01
     4:01CR3063      USA v. Lamont Smith                          8/12/03
     4:01CR3106      USA v. John E. Davis                         3/06/03
     4:02CR3039      USA v. Jose Barajas-Perez                    2/14/05
     4:02CR3158      USA v. Gamal Omer Sharif                     3/18/03
                          and Ali Abdul-Azez Sofyan
     8:03CR411       USA v. Robert C. Cave, III                   4/14/05
     4:03CR3000      USA v. Amanda Tankersley                     6/03/03
     4:03CR3001      USA v. Phillip Wanning                       2/1/05
     4:03CR3004      USA v. Hugh Beltran-Gomez                    12/15/03
                     (Exhibits 1-10,17,19-22 only)
     4:03CR3009      USA v. William M. Hulka                      9/15/03
     4:03CR3012      USA v. Tango L. Crenshaw                     4/22/03
     4:03CR3014      USA v. Khanh Huu Nguyen                      10/27/03
     4:03CR3014      USA v. Ha T. T. Nguyen                       10/29/03
     4:03CR3018      USA v. James D. Swanson                      12/22/03
     4:03CR3025      USA v. Jason Elliot Ramsay                   11/24/03
     4:03CR3029      USA v. Duane Ready                           1/12/04
     4:03CR3033      USA v. Michelle R. Freriks                   4/21/03
     4:03CR3043      USA v. James E. Mullin                       6/19/03
     4:03CR3065      USA v. Vince A. Schaffer                     7/16/03
     4:03CR3067      USA v. Sergio Arellano-Hernandez             5/26-28/04
     4:03CR3085      USA v. Phillip Colley                        2/23/05
     4:03CR3085&86   USA v. Phillip Colley                        12/19/03
     4:03cr3085&86   USA v. Phillip Colley                        3/9/04
     4:03CR3096      USA v. Regina L. Rathjen                     2/24/04
     4:03CR3098      USA v. Clarence Edward Duell, Jr.            11/6/03
     4:03CR3105      USA v. Larry E. Baxter                       12/1/03 & 2/9/04
     4:03CR3109      USA v. Thomas G. Hall                        10/23/03
     4:03CR3126      USA v. Keaton Lee Amos                       12/21/04
     4:03CR3132      USA v. Trinidad Hernandez-Olea               5/21/04
     4:03CR3134      USA v. James M. Clark                        3/18/04
     4:03CR3159      USA v. Arturo Mendoza-Mendoza                12/13/04
     8:04CR47        USA v. Chad Pelley                           9/9/04
     8:04CR164       USA v. Michael Tucker                        1/28/05; 3/31/05
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4:04CR3004      USA v. Dennis C. Timmerman                   3/9-10/04; 7/18/05
4:04CR3005      USA v. Jason E. Vanovereem                   4/20/04
4:04CR3017      USA v. Donald Bowers                         5/2/05
4:04CR3050      USA v. Carlos Davila Tellez                  10/13/04
4:04CR3079      USA v. Benny Amaro                           11/9/04
4:04cr3081      USA v. Malcolm Anderson,                     3/9/05, 3/15/05 &
                        & Brian Parker                       3/22/05
4:04CR3110      USA v. Lueth Phetvihanh                      10/14/04
4:04CR3112      USA v. Bouangeune Saysavanh                  4/5/05
4:04CR3151      USA v. Jose Delapaz                          6/27/05
4:04CR3156      USA v. Joe M. Delgado, Jr.                   12/2/04
4:04CR3159      USA v. Michael Siwek                         3/1/05 & 9/1/05
4:04CR3167      USA v. Melvin A. Jones                       1/10/05




DATED this 14th day of February, 2007.



                                    BY THE COURT

                                    s/ RICHARD G. KOPF
                                    United States District Judge
